                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


ANDREA KNOWLES                                   )
                                                 )      No. 3-11-0606
v.                                               )
                                                 )
BEACH OIL COMPANY                                )



                                               ORDER

          On September 24, 2012, plaintiff's counsel's office called the office of the Magistrate Judge
to advise that the parties had reached a settlement.

          As a result, the telephone conference call, scheduled by order entered September 17, 2012

(Docket Entry No. 20), on September 25, 2012, is CANCELLED.

          By October 12, 2012, the parties shall file an agreed order of dismissal.

          The Clerk is directed to forward the file in this case to the Honorable John T. Nixon for his

consideration of the parties' agreed order of dismissal to be filed by October 12, 2012.1

          Unless otherwise directed by the Court or upon motion of the parties, there will be no further

proceedings before the Magistrate Judge in this case.

          It is so ORDERED.




                                                 JULIET GRIFFIN
                                                 United States Magistrate Judge




     1
     By order entered November 8, 2011 (Docket Entry No. 14), the pretrial conference and trial
were scheduled on January 11, 2013, and January 22, 2013, respectively.



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